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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

N. Neville Reid
                               Plaintiff,
v.                                                   Case No.: 1:19−cv−01978
                                                     Honorable John J. Tharp Jr.
Michael Wolf, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 9, 2023:


        MINUTE entry before the Honorable John J. Tharp, Jr: The Trustee's motion to
compel turnover and deliver assets and proceeds, or alternatively for entry of judgment
and for other relief [74] is taken under advisement. Any response is due by 8/18/123;
reply due 8/25/23. Mailed notice. (exr, )




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